                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

ALFRED DEL RIO A/K/A ALFREDO DEL                   :
RIO and OLIVIA DEL RIO,                            :     Docket No.: 1:19-cv-10312
             Plaintiffs,                           :
     v.                                            :
                                                   :
McCABE, WEISBERG &CONWAY, LLC;                     :
NEWREZ LLC D/B/A SHELLPOINT                        :
MORTGAGE SERVICING; and THE BANK                   :
OF NEW YORK MELLON F/K/A THE BANK                  :
OF NEW YORK, AS TRUSTEE FOR THE                    :
CERTIFICATE HOLDERS OF CWALT INC.,                 :
ALTERNATIVE LOAN TRUST 2007-11T1,                  :
MORTGAGE PASS-THROUGH                              :
CERTIFICATES, SERIES 2007-11T1                     :
          Defendants.


            DECLARATION OF CANDIDUS K. DOUGHERTY IN SUPPORT OF THE
            MOTION TO DISMISS THE COMPLAINT AND/OR STRIKE THE CLASS
                  CLAIMS BY McCABE, WEISBERG & CONWAY, LLC

       I, Candidus K. Dougherty, an attorney admitted ​pro hac vice in the Southern District of

New York, hereby declares, under penalty of perjury pursuant to 28 U.S.C. section 1746 as

follows:

       1.     I am a member of the law firm Swartz Campbell, LLC, attorneys for defendant

McCabe, Weisberg & Conway, LLC, in the above-captioned matter.

       2.     I submit this declaration in support of the motion to dismiss the complaint and/or

strike the class claims by McCabe, Weisberg & Conway, LLC. In particular, I make this

declaration to present to the Court certain documents of which the Court may take judicial notice

pursuant to Fed. R. Evid. 201.
       3.     A true and correct copy of the voluntary petition for relief under chapter 7 of the

United States Bankruptcy Code filed by Alfred Del Rio in the United States Bankruptcy Court,

Southern District of New York, on March 7, 2011, under Case No. 11-bk-10979, is annexed

hereto as ​EXHIBIT “A​.”

       4.     A true and correct copy of the Order of Final Degree, issued by the Honorable

Robert. E. Gerber, Bankruptcy Judge, United States Bankruptcy Court, Southern District of New

York, on June, 14, 2011,under Case No. 11-bk-1097, is annexed hereto as “​EXHIBIT B.”

       5.     A true and correct copy of the Verified Answer with Counterclaims in The Bank

of New York Mellon FKA The Bank of New York, as Trustee for the Certificateholders of

CWALT, Inc., Alternative Loan Trust 2007-11T1, Mortgage Pass-Through Certificates, § Series

2007-11T1 v. Alfred Del Rio A/K/A Alfredo Del Rio, et al., Index No. 36469/2019E, is annexed

hereto as ​EXHIBIT “C.”

       I, CANDIDUS K. DOUGHERTY, hereby declare under penalty of perjury that the

foregoing is true and correct based on my best information, knowledge and belief.



Dated: January 8, 2020
Philadelphia, Pennsylvania


                                                           /s/ ​Candidus K. Dougherty
                                                           Candidus K. Dougherty
